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                      Exhibit A-1
               Schematics of Capitol
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Exhibit A-1 - Schematics of Capitol                                                            1
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Exhibit A-1 - Schematics of Capitol                                                            2
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Exhibit A-1 - Schematics of Capitol                                                            3
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Exhibit A-1 - Schematics of Capitol                                                            4
